                                 OPINION
On February 9, 1990, appellant, Robert DeCapite, pleaded guilty to one count of attempted rape, in violation of R.C. 2923.02. The Lake County Court of Common Pleas subsequently sentenced him to serve an indefinite term of incarceration of five to fifteen years. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By journal entry filed June 5, 1998, the trial court, suasponte, determined that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds. _______________________ JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.